           Case 1:19-cr-00015-TLN-BAM Document 391 Filed 08/06/19 Page 1 of 2


 1   HEATHER E. WILLIAMS, CA Bar #122664
     Federal Defender
 2   MEGAN T. HOPKINS, CA Bar #294141
     ERIN M. SNIDER, CA Bar #304781
 3   Assistant Federal Defenders
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950

 6   Attorneys for Defendant
     CONRADO VIRGEN MENDOZA
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                     Case No. 1:19-cr-00015-DAD-BAM-3

12                                                 STIPULATION TO MODIFY TERM OF
                       Plaintiff,                  PRETRIAL RELEASE; ORDER THEREON
13
                                                   JUDGE: Hon. Barbara A. McAuliffe
14   vs.

15
     CONRADO VIRGEN MENDOZA,
16
17                    Defendant.

18
19          IT IS HEREBY STIPULATED by and between the parties hereto through their
20   respective counsel, Assistant United States Attorney Laura D. Withers, counsel for plaintiff, and

21   Assistant Federal Defender Megan T. Hopkins, counsel for Defendant Conrado Virgen Mendoza,
22   that the conditions of Mr. Virgen Mendoza’s pretrial release be modified. Specifically, the
23   parties agree that the following language should be removed:

24          (a)     . . . HOME DETENTION: You shall remain inside your residence at all times
                    except for employment; education; religious services; medical, substance abuse,
25                  or mental health treatment; attorney visits; court appearances; court-ordered
                    obligations; or other activities pre-approved by the PSO;
26
27   The parties request that the following language be added in its place:

28          (a)     . . . CURFEW: You must remain inside your residence every day from 8:00 PM
                    to 8:00 AM, or as adjusted by the pretrial services officer for medical, religious
                    services, employment or court-ordered obligations;
            Case 1:19-cr-00015-TLN-BAM Document 391 Filed 08/06/19 Page 2 of 2


 1            Mr. Virgen Mendoza has been on pretrial release since April 9, 2019. For the nearly four
 2   months Mr. Virgen Mendoza has been compliant with his release conditions, communicates with
 3   Pretrial Services, and provides appropriate documentation as directed. The parties believe that
 4   the proposed modification is appropriate given Ms. Virgen Mendoza’s progress on pretrial
 5   release. Mr. Virgen Mendoza’s Pretrial Services Officer, Alicia Mirgain, is in agreement with
 6   the requested change. The parties agree that all other terms and conditions of probation
 7   previously imposed shall remain the same.
 8
 9                                                 Respectfully submitted,
10                                                 MCGREGOR SCOTT
                                                   United States Attorney
11
12   Date: August 5, 2019                          /s/ Laura Withers
                                                   LAURA WITHERS
13                                                 Assistant United States Attorney
                                                   Attorney for Plaintiff
14
15                                                 HEATHER E. WILLIAMS
                                                   Federal Defender
16
17   Date: August 5, 2019                          /s/ Megan T. Hopkins
                                                   MEGAN T. HOPKINS
18                                                 ERIN M. SNIDER
                                                   Assistant Federal Defenders
19                                                 Counsel for Defendant
                                                   CONRADO VIRGEN MENDOZA
20
21                                               ORDER

22            The modification of pretrial release set forth in this stipulation IS HEREBY

23   APPROVED.

24
25   IT IS SO ORDERED.

26
         Dated:        August 6, 2019                          /s/
27                                                     UNITED STATES MAGISTRATE JUDGE
28


      VIRGEN MENDOZA
                                                     -2-
      Stipulation to Modify PTS Condition
